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               MAKING SENSE OF "APPORTIONMENT" IN PATENT DAMAGES1


                                    Elizabeth M. Bailey
                                    Gregory K. Leonard
                                      Mario A. Lopez

               Unreasonably large damages awards in patent litigation have been
       an important force in motivating the movement for patent reform.
       "Apportionment" has found support as a solution to problem damages
       awards.     Under apportionment, the portion of the overall value of the
       product that is "attributable" to the patented technology is identified.
       Then, reasonable royalty damages are calculated with reference to this
       apportioned value of the patented technology rather than the overall value
       of the product. While the problems that have motivated the apportionment
       movement are real and serious, apportionment makes sense as a solution
       only under the assumption that an economically invalid approach to
       calculating damages is being taken in the first place. A more sensible
       solution is to require litigants to take an economically valid approach to
       damages. In addition, when there are complementarities between assets,
       such that the combined use of two or more assets is worth more than their
       individual use, no unique way exists to apportion the overall value of the
       product among the assets (including the patented technology at issue),
       rendering apportionment infeasible in many cases. We consider these and
       other issues that surround apportionment.




        Bailey: NERA Economic Consulting, Elizabeth.Bailey@nera.com; Leonard: NERA
Economic Consulting, Gregory.Leonard@nera.com; Lopez: NERA Economic Consulting,
Mario.Lopez@nera.com. The views expressed herein are those of the authors and not necessarily
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                                        I. INTRODUCTION

        Controversial patent damages awards have put patent damages at the center of the
debate over patent reform.       The award in Lucent Technologies, Inc. v. Gateway, Inc.
("Lucent") is one such example. In a jury trial, Microsoft was found to have infringed a
patent-referred to as the Day patent-that describes a method to enter information on a
computer screen without using a keyboard (e.g., by using a stylus), which Microsoft was
found to have used in its "date-picker" calendar tool in Microsoft Outlook. The jury
awarded $358 million in damages to Lucent. On appeal, however, the Court of Appeals
for the Federal Circuit ("CAFC") found that "the infringing use of the date-picker tool in
Outlook is but a very small component of a much larger software program" 2 and
concluded that the "damages calculation lacked sufficient evidentiary support." 3 The
matter was remanded to the lower court for a new trial on damages.
        In recent years, Congress has considered a variety of legislative proposals
designed to address the issue of unreasonably large damages awards. 4 Of particular
concern are situations where the patented technology is but one of many technologies and
assets that are incorporated into a product.s "Apportionment" has been proposed as a
solution to these problems. 6 Under apportionment, the portion of the overall value of the
product that is "attributable" to the patented technology is identified. Then, reasonable
royalty damages are calculated with reference to this apportioned value of the patented
technology rather than the overall value of the product.
        In this article, we explore apportionment.       While the problems that have
motivated the apportionment movement are real and serious, apportionment makes sense
as a solution only under the assumption that an economically invalid approach to
calculating damages is being taken in the first place. Apportionment relieves a symptom,
but not the cause, of problem damages awards. Adoption of apportionment as a damages
calculation methodology may arbitrarily reduce reasonable royalty awards, even for

   2    Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., 580 F.3d 1301, 1337 (Fed. Cir.
2009), cert. denied, 30 S. Ct. 3324 (2010).

   3    Id. at 1308.

   4   See, e.g., The Patent Reform Act of 2009, S. 515, 111th Cong. (2009); see also, e.g., S.
610, 111th Cong. (2009); H.R. 1260, 111th Cong. (2009); The Patent Reform Act of 2010, S.
Managers' Amend., 111th Cong. (2010) (Managers' amendment to Senate Bill 515 as reported by
S. Comm. on the Judiciary, March 4, 2010).

        E.g., Patent Reform in the 111th Congress. Legislation andRecent Court Decisions
Before the S. Comm. On the Judiciary, 111th Cong. 14 (2009) (statement of Mark A. Lemley,
Professor of Law, Stanford Law School), available at http://frwebgate.access.gpo.gov/cgi-
bin/getdoc.cgi?dbname= 111_senate hearings&docid= f:54059.pdf (testifying that the Georgia-
Pacific factors are open to manipulation and that they do not reflect the contribution of the
patented technology to the technology at issue).
     6See, e.g., id at 61-62. See also, Brian J. Love, Patentee Overcompensation and the
Entire Market Value Rule, 60 Stan. L. Rev. 263, 272 (2007).


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valuable new inventions-counter to the purpose of patent system. A more sensible
solution is to require litigants to take an economically valid approach to damages. In that
case, apportionment would not be necessary.
        In addition, an attempt to implement apportionment would face serious practical
problems. When there are complementarities between assets, such that the combined use
of two or more assets is worth more than their individual use, no unique way exists to
apportion the overall value of the product among the assets (including the patented
technology at issue). Unless a particular apportionment scheme was specified in patent
reform legislation, substantial legal ambiguity would be created and courts, juries, and
parties would bear a heavy litigation burden. Again, the alternative of requiring litigants
to take an economically valid approach to damages is a much more attractive alternative
from the perspective of good public policy.


 II. APPORTIONMENT RELIEVES A SYMPTOM, NOT THE CAUSE, OF "PROBLEM" DAMAGES
                                            AWARDS

        The apportionment movement has been motivated by scenarios such as the
following. A damages expert provides testimony in which a reasonable royalty damages
award is calculated by first determining that the average royalty rate in an industry is, say,
1%, and then applying this royalty rate to a royalty base consisting of the revenue of a
product that incorporates the patented technology. 7 However, the patented technology
covers only a "small" component of the product, and many other technologies and assets
are required to produce the product. Therefore, the resulting damages award (in dollars)
seems out of line with the contribution of the patented technology to the product.
        This scenario played out recently in Cornell University v. Hewlett-Packard Co.
("Cornell"), presided over by Judge Rader of the CAFC, who was sitting by designation.


    7    The approach of using "industry averages" and supposedly "comparable" licenses to
determine the royalty rate in a given situation often fails to be economically sound in its own
right. The supposedly comparable licenses are often not, in fact, comparable. License
agreements can vary substantially both in terms of the patented technology being licensed and the
economic conditions of the parties to the agreement. Unless the important characteristics are
similar across two licenses, they will generally not be comparable. Along the same lines, the
economic circumstances surrounding the "typical" or "industry average" licensing negotiation
that led to the "typical" or "industry average" royalty rate are unlikely to correspond to the
specific economic circumstances of the patented technology and parties at issue in the litigation.
Before an existing license can be used as a benchmark, one must carefully analyze whether it is
truly comparable in terms of factors such as the technology covered, the product sold by the
licensee, the degree of competition betw een the licensor and licensee, cross licensing
arrangements, and other considerations. The CAFC has pointed out this issue in recent opinions.
In Lucent, the CAFC determined that some of the licenses that the plaintiff claimed were
comparable were in fact "radically different from the hypothetical agreement under consideration
for the Day patent." As to the remainder of the licenses, the CAFC wrote that they could not
"understand how the jury could have adequately evaluated the probative value of those
agreements," characterizing the evidence presented as "superficial" and "doubtful that the
technology of those license agreements is in any way similar to the technology being litigated
here." Lucent, 580 F.3d 1301, 1328-29.


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A jury had found that Hewlett-Packard infringed a patent that describes a method to read
a component of a processor's instruction reorder buffer ("IRB").                The patented
technology was claimed to enhance the throughput of a processor. Cornell's damages
expert initially testified that the jury should compute damages using a royalty base
encompassing Hewlett-Packard's earnings from its sales revenue from its entire servers
and workstations. 8 Yet, the patented technology was "a small part of the IRB, which is a
part of a processor, which is part of a CPU module, which is part of a 'brick,' which is
itself only part of the larger server." 9 In other words, the patented technology related to
only a very small component of the overall product that was being used to form the
royalty base.
        Judge Rader ruled in a pre-trial motion that servers were not an appropriate
royalty base for calculating the reasonable royalty.10 What followed was essentially
application of an apportionment approach."         Cornell's expert testified that the royalty
base should be reduced from servers to "CPU bricks," which yielded damages of $184
million. 12 The jury awarded this amount. However, Judge Rader was troubled by the
size of the damages award.13 In ruling on a Hewlett-Packard post-trial motion, Judge
Rader further reduced the royalty base from CPU bricks to processors, and applied the
"jury's uncontroverted royalty rate of 0.8 percent"14 to this reduced royalty base.' 5 This



   8    Cornell Univ. v. Hewlett-PackardCo., 609 F.Supp.2d 279, 284 (N.D.N.Y. 2009).

   9    Id. at 283. The "CPU brick" is Hewlett-Packard's term for the combination of the
processor, a temperature controlling thermal solution, external cache memory, and a power
converter.
   10   Cornell Univ. v. Hewlett-PackardCo., No. 01-CV-1974, 2008 WL 2222189, at *4
(N.D.N.Y. May 27, 2008).

    11 This type of apportionment attempts to limit the use of the entire market value rule
(where the entire value of the product is used as the royalty base) to instances where the patented
feature is the basis for demand and to some smaller base otherwise. See Love, supra note 6, at
272 ("To prevent overcompensation and its attendant harms, the entire market value rule must be
scaled back to its original role as a special case of the apportionment requirement, such that it
may not be applied unless-as its name suggests-the patent at issue indeed accounts for the
entire value of the infringing article.") See also, Eric E. Bensen & Danielle M. White, Using
Apportionment to Rein in the Georgia-PacificFactors, 9 Colum. Sci. & Tech. L. Rev. 1, 18-19
(2008) ("Where the patent was for an improvement or component, patentees could satisfy their
apportionment burden by showing that the entire market value of the infringing product was
attributable to the patented invention .. .)

   12   Cornell, 609 F.Supp.2d 279, 284.

   13   In particular, the court stated that "[t]he important point is not the way that Cornell
derived this royalty base, but that it exceeded again this court's direction and proceeded to
attempt to show economic entitlement to damages based on technology beyond the scope of the
claimed invention." Cornell, 609 F.Supp.2d 279, 284-85.

   14   Id. at 292.


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reduced damages to $53 million. In short, Judge Rader identified the portion of the
revenue of the overall product (the server) that was closely related to the patented
technology, namely the processor, and then used that revenue as the royalty base.
         Reducing the royalty base to which a royalty rate is applied is certainly an
effective way to reduce a damages award that is overstated. However, it is also a crude
approach. Typically, there are only a finite number of possible royalty bases that could
be used, with discrete jumps in size between them. For example, in Cornell, the
processor royalty base was less than one-third the size of the CPU brick royalty base. It
is unlikely that the dollar royalty amount that results from multiplying a specified royalty
rate by each of the small number of possible royalty bases is exactly equal to the value of
the patented technology.
         More fundamentally, the apportionment approach of reducing the royalty base
treats the symptom (an overly large damages award), without addressing the underlying
cause. The underlying cause of problem damages awards is the approach sometimes
taken by damages experts of choosing the royalty rate and royalty base independently of
each other, and without reference to the economic value of the patented technology.
Rather than directing that apportionment be used to eliminate problem damages awards,
it would be preferable for patent reform legislation or the CAFC to require damages
experts to take an approach that is consistent with sound economic principles. 16 Then,
apportionment becomes unnecessary.
         Under a sound economic approach, the reasonable royalty award (in dollars)
should reflect the incremental value (in dollars) of the patented technology to the
defendant as compared to the next best alternative. It should not matter what royalty rate
or royalty base are used, as long as the product of the two yields a result (in dollars) that
is in line with the patented technology's incremental value. Put another way, the royalty
rate and royalty base must be chosen together in order for the reasonable royalty (the
multiplication of the two) to make economic sense. It is when the rate and base are
chosen independently of each other that problem awards (i.e., awards out of line with the
economic value of the patented technology) arise.
         In the context of the Cornell case, suppose that the patented technology resulted
in an increase in a server's processing speed relative to what was achievable with the next
best technology. Enhanced speed may result in greater sales of, and higher prices for,
servers, which in turn leads to incremental profits due to the patented technology.' 7
These incremental profits represent the largest dollar amount that a rational licensee




      isDetermining the royalty base for processors was not straightforward because processors
wvere generally not sold separately from CPU bricks. Cornell disputed the method by which
Hewlett-Packard' s expert had calculated the processor royalty base.
   16    Indeed, without performing a proper economic analysis, it is difficult to know if a
damages award is "too large" or the degree to which it is too large. As a result, an adjustment
after-the-fact is likely to be ad hoc and out of line with the true economic value of the patent.
   17   This analysis would have to take into account any incremental costs associated with using
the patented technology as well.

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would pay for the right to use the patented technology.1 The choice of the royalty base
should be largely irrelevant as long as the royalty rate is set, conditional on the choice of
royalty base, so as to reflect the economic value (in dollars) of the patented technology. 19
         The CAFC appears to be headed in the direction that we advocate. In its opinion
in Lucent, the CAFC stated that "[t]here is nothing inherently wrong with using the
market value of the entire product [as the royalty base], especially when there is no
established market value for the infringing component or feature, so long as the multiplier
[i.e., the royalty rate] accounts for the proportion of the base represented by the infringing
component or feature." 20


 III. IN THE PRESENCE OF COMPLEMENTARITIES, No UNIQUE APPORTIONMENT OF VALUE
                                               EXISTS

         Taken in the most favorable light, advocates of apportionment argue that when
calculating reasonable royalties, a royalty rate should be applied to the incremental value
added by the patented technology at issue rather than to the overall value of the product.21
However, the specific methodology that has been put forward to perform apportionment
fails to recognize that patented technologies typically create value that is "greater than the
sum of the parts," i.e., synergies, and incorrectly attributes all of the synergies to the
infringer.



   18    The procedure we would typically propose is to first define the royalty base as the sales
of the smallest product that (1) incorporates the patented feature and (2) can be separately priced
(either through actual arm's length transactions or a reliable approximation). Then, given that
base, the royalty rate is chosen to reflect properly the economic value of the patented technology.
This choice of royalty base is consistent with real world licensing practices. Licensors prefer to
have a royalty base that is easily verifiable and not subject to manipulation. Licensees prefer to
limit the royalty base to the smallest possible product to limit the distortionary effects of the
royalty "tax" on their incentives.
   19    A potential practical limitation to our proposed approach is that juries may be hesitant to
award a very small royalty rate, assuming a large royalty base has been chosen, even if that small
royalty rate properly reflects the economic value of the patented technology. For example, a jury
might be hesitant to award a royalty rate of 0.0001 percent. For this reason, as a litigation
strategy, the defendant may prefer to make the case for a lower royalty base (with a
correspondingly higher royalty rate). This practical problem would seem to resuscitate the need
for apportionment, at least as a means of reducing the royalty base. However, it should be
recognized that a symmetric problem exists for plaintiffs. If a very small royalty base was to be
the rule, plaintiffs might have difficulty convincing juries to award a large royalty rate, even if
that rate were economically sound given the choice of royalty base. For example, a 50 percent
royalty rate may be economically appropriate given a narrow royalty base, yet the defendant
might be able to persuade a jury that such a rate was out of line with "industry practice."
   20    Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., 580 F.3d 1301, 1339 (Fed. Cir.
2009).
   21    See, e.g., Love, supra note 6.


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         The synergies, or additional value obtained by combining assets, are the result of
complementarities among the assets. To make the concepts concrete, suppose two
companies, A and B, each have an asset. Company A can use its asset to make product A
and receive value VA.22 Company B can use its asset to make product B and receive
value VB,. Alternatively, the two companies can join forces and make product AB, which
will generate total value VAB. Product AB may be an improved version of product A or
B, or it may be an entirely different type of product altogether. If VAB > VA + VB , it is
 said that there are (strict) "gains to trade," i.e., the two companies would be better off
joining forces than pursuing their respective alternatives.                 The difference
 S=V      -V -VB represents the amount of the gains to trade, or the synergies generated
by combining their assets. Neither company can access S without the other. 23
         The value of product AB can be rewritten as VABR= VA + VB + S .It should be
clear that there is no unique way of dividing the value of product AB between the two
assets that are used to create it. This is because the value of the synergies S is "joint and
common" to the two assets. Both asset owners can lay claim to S. Any mechanical rule
to apportion the synergies between the assets needed to create the synergies is analogous
to an accounting rule to allocate "joint and common" costs among the products that those
costs support. Economists have long recognized that any such cost allocation is
completely arbitrary. 24 Similarly, any rule to apportion the synergies between the assets
is necessarily arbitrary.
         To see the difficulties, suppose Company B argued that its asset should be valued
by comparing the value of product AB to the value of the product that could be produced
without Company B's asset (i.e., product A). Under that argument, the value of the asset
of Company B would appear to be VAB - VA = VB +S. However, Company A could
make a similar argument and claim that the value of its asset was VAB - VB = VA + S. Yet,
both companies cannot be awarded these values, or the sum would exceed the value of
product AB.
         In proposing a framework for apportionment, Love states that "when the patent at
issue covers only a component of or improvement to the infringing item, the value of the
 sales or uses of that [infringing] item must be apportioned between the patented invention
and the remaining unpatented components." 25 According to this construct, Company B
could claim that the value of the "unpatented components" (i.e., Company B's asset) is
 VAB -VA and the apportioned value of Company A's patent therefore should be limited to


   22    "Value" here would be the net present discounted value of the expected profits from
selling the product.
   23     To reiterate, VA represents the best Company A could do by itself without access to
Company B's asset, and similarly for VBR.
   24     William J. Baumol, On the Proper Cost Tests fur NaturalMunupuly in a Multiproduct
Industry, 67 Am. Econ. Rev. 809 (1977).

        25Love,   supra note 6, at 268.


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 VA. From above, however, this incorrectly attributes all of the synergies, S, to Company
B's asset. The approach proposed by Love would only make economic sense in the
unlikely situation in which the combination of Product A with Product B created no
synergies (i.e., S = 0 such that VABB= VAVB). 26
        As discussed above, however, combining patented technologies typically creates
value that is greater than the sum of the parts. For example, patent pools often bring
together various technologies that are necessary to create the product in question. The
stand-alone value of any one patent in the pool may be low or close to zero unless
combined with the other patents in the pool. To take another example, consider a patent
related to a microprocessor incorporated into mobile phones. A chip that provided some
improvement (in speed, efficiency, etc.) may enable other functionality on the phone,
such as an improved touchscreen interface, software applications with greater capability,
greater video functionality, or improvement of other features of the phone. While
apportionment would recommend that the royalty base be limited to the chip "portion" of
the phone, this delineation may miss synergies between the patent at issue and the other
features of the mobile phone. It would be incorrect to attribute all such synergies to the
infringing company (or, for that matter, the patented feature). Instead, we can ask the
more direct question of the additional profits that the manufacturer could be expected to
make by incorporating the patented feature into its product. If the patented feature
provides only a small improvement over existing technology (or, equivalently, a good
non-infringing alternative to the patent exists), then the royalty should be limited. The
manufacturer would not be willing to pay much for access to that technology. Using this
same methodology, a major innovation would result in a higher royalty. In this way, an
economic approach will produce damages awards that are consistent with the purpose of
patent laws such that the incentive to innovate is commensurate with the value to society
of the innovation.


 IV.    A MARKET-BASED APPROACH FOR DETERMINING              HOW TO DIVIDE VALUE BETWEEN
                                     Two ASSET      OWNERS

        Because any mechanical apportionment "rule" is inherently arbitrary (and thus
would simply lead to irresolvable disputes in litigation), a better approach to determining
how value should be divided between asset owners is to analyze how the asset owners
would negotiate a split of the synergies. This approach is market-based and therefore is
not arbitrary.
        Economic principles suggest that the negotiated payouts to the two companies
must satisfy several conditions. First, the payout to company A, rA , must satisfy
zrA   VA Or COmpany A would prefer to pursue its alternative (product A). The value



   26    Love's model assumes that the various technologies of a product are additive, such that
each additional patent adds value independent of other technologies-but with no synergies
between technologies. This leads him to conclude that the value of the entire product can only be
attributed to the patented technology when the value of all the other components is zero. Love,
supra note 6, at 276. When synergies exist among the technologies, this is not true.


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from product A is the opportunity cost that Company A faces (i.e., the foregone profit) in
pursuing product AB. Company A must earn a payout from Product AB that exceeds its
opportunity cost. Similarly, the payout to company B must satisfy 7rB VB . The sum of
the payoffs must of course satisfy TA +B = VAB . Under these conditions, each
company's payout can be thought of as the value of its alternative (the opportunity cost)
plus a fraction of the gains to trade:

                  ;A = VA + AS

                  ;B = VB + (1-     )S

        where X is the negotiated split of the gains to trade.
        Economic models of bargaining suggest that the split of the gains to trade will be
influenced by the companies' relative levels of patience (as reflected by the rate at which
they discount future expected cash flows). 27 The more patient company is willing to let
the negotiations play out longer and therefore receives a larger split of the gains to trade
than the less patient company. When the two companies are sufficiently patient and are
roughly equally patient, the gains to trade will be approximately equally divided. 28 In
this case, A = 0.5.29
       Before applying this framework to patent licensing negotiations, we make an
observation about patents as assets in this context. Unlike a physical asset, such as a
manufacturing plant, the use of an intellectual property asset in one application does not
necessarily preclude its simultaneous use in another application. 30 This can reduce the
opportunity cost associated with using intellectual property in a given application. For
example, suppose Company A's asset is a patented technology. By licensing Company B
under its patent, Company A may not need to give up any opportunities to license the
same technology to other companies that operate in different markets than Company B.
We now consider several licensing examples.

        Example 1. Dividing Value Between Asset Owners When Both Companies Have
                                     Blocking Assets

        Suppose Company A holds a patent on a technology. Company A has no ability
to produce any product itself, and there are no suitable licensees other than Company B.

   27     See Ariel Rubinstein, Perfect Equilibrium in a BargainingModel, 50 Econometrica, Jan.
1982, at 97.
   28   As a technical matter, in the Rubinstein model of bargaining, the party that has the
opportunity to make the first offer receives a slightly higher split of the gains to trade. This
advantage goes to zero as the two parties become infinitely patient, or equivalently, as the time
between offers goes to zero.
   29    Whether it is appropriate to apply the framework described here to a particular real world
situation will depend on the specific facts of the case.
   30     Unless, of course, prevented by contractual obligations such as an exclusive license.


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Company B has important complementary know-how to the patented technology, but
cannot use this know-how to produce any product without a license to Company A's
patent. If licensed, it could produce and sell product AB and generate profit VAR, which
accounts for all expected future economic costs associated with developing and offering
product AB. Under these assumptions, VA = 0 , VB = 0 , and S=VAB.               If the two
companies are equally patient, they will equally split the profits from the patented
product.31 Essentially, each company holds a "blocking" asset that is required to produce
product AB, and they have no alternative use for their assets (we call this a case of
"completely blocking" assets). The resulting "Mexican standoff' yields an equal split of
the profits.
        In some situations it may seem counterintuitive that both companies have
blocking assets. For example, suppose Company A uses its patented technology to make
a product, product A, that is sold in a different market from the market in which product
AB would be sold. Suppose further that product A is sold at $500 per unit and generates
profits of $250 per unit. Company B, on the other hand, has no means by which to earn a
profit on its know-how without getting a license from Company A. Product AB, which
combines Company A's patented technology with Company B's know-how, would be
sold at $5,000 per unit and would generate profits of $2,500 per unit. One might think
that Company B has a blocking asset and thus Company B's know-how must be "valued"
at $2,250 (the $2,500 profit per unit from Product AB less the $250 profit per unit for the
product that utilizes Company A's patented technology). 32 However, this is incorrect as
a matter of economics. Company A's patent is just as blocking as Company B's know-
how in making Product AB. This puts the two companies on equal footing, each able to
block the other. As a result, they would negotiate an even split of the product AB profits
(assuming both companies are sufficiently and equally patient). 33

 Example 2: Dividing Value Between Asset Owners When Company A Has a "Partially
                                 Blocking" Asset

       Suppose Company A has a patented technology with no ability to produce a
product itself, and there are no suitable licensees other than Company B. Company B has
know-how, which allows it to produce a product B that generates profit VB. Licensing
Company A's patented technology would allow Company B to offer an "improved"
version of its product, product AB, that adds the product feature enabled by Company



   31   Again, assuming that both parties are also sufficiently patient.
   32   That is,VAB -VA.'

      33A related principle is that a company with more than one blocking asset does not get a
larger piece of the pie than a company with only one blocking asset. However, in the case where
the validity and infringement of patents are uncertain, so that blocking is uncertain, more than one
potentially blocking patent (subject to validity and infringement) can strengthen a company's
bargaining position because the probability that at least one of the patents turns out to be blocking
increases with the number of patents.


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A's patent. Product AB will generate profit VAB. If product AB is offered, Company B
would no longer offer product B. However, if product AB is not offered, Company B has
the ability to continue selling non-infringing product B. In this situation, Company A has
a "partially blocking" patent on a product feature. In this case, VA= 0 and S = VAB - VB.
It is unclear how to implement apportionment in this case, since the value of Company
A's patent can only be realized in combination with Company B's know-how. The
economic approach recognizes that the two companies are negotiating only over the
incremental profit S that adding Company A's patented feature would bring: if the feature
is minor, S is a small fraction of VAB and the royalty rate would be relatively small. 34


                            V. ADDRESSING "ROYALTY STACKING"


   A. Apportionment Is a Crude Solution to Royalty Stacking Problems

        Many complex technology products incorporate multiple different features, each
of which may be covered by a patent. For example, in Lucent, Microsoft Outlook was
described as "an enormously complex software program comprising hundreds, if not
thousands or even more, features." 3 5
        Royalty stacking refers to the potential problem that can arise from situations in
which a single product may require a license from multiple patent holders. The total
royalties paid by the manufacturer is the sum (or stack) of royalties paid to each
individual patent holder. Some companies, particularly those manufacturers that produce
complex products that incorporate multiple patents, have argued that the sum of the
royalties paid to each individual patent holder may leave too little profit for the
manufacturing company, reducing their own incentives to innovate. Some have even
argued that royalties could exceed the total profit of a product. 36 In such a case, the



   34   Note that in this bargaining situation, Company A does not have the ability to expropriate
more than S because Company B can turn to its non-infringing alternative, valued at VB, if the
royalty were too high.

   35    Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., 580 F.3d 1301, 1332 (Fed. Cir.
2009).
   36    For example, in the Senate Judiciary Committee hearing on the 2009 Patent Reform Act,
Steve Appleton, Chairman and CEO of Micron Technology, Inc., testified:

         The difficulty is that the current patent litigation system too easily allows
         damages to be assessed based on the value of the whole product, rather than the
         contribution of the patent. If we assume thousands of patents relate to this device,
         the resulting damages under current law would result in an amount that would
         exceed the total amount of revenue derived from the product.

Patent Reform in the 111th Congress: Legislation and Recent Court Decisions Before the S.
Comm. on the Judiciary, 111th Cong. 5 (2009) (statement of Steven Appleton, Chairman and


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magnitude of the combined royalties would deter the introduction of the product, an
economically inefficient outcome. 37
        The royalty stacking problem has been cited as one reason that apportionment
should be applied to calculate damages in patent infringement litigation. 38 Specifically, it
is argued that apportionment is necessary because, when a product is covered by
hundreds of patents, simple arithmetic shows that each patent can receive only a small
royalty or the profit of the product would be exhausted entirely. However, again
apportionment treats the symptom, not the disease. While apportionment can be used to
reduce the size of the base to which a royalty rate is applied, apportionment does not
address the cause of the royalty stacking problem.
        In contrast, the economic approach to calculating reasonable royalty damages has
the potential to address royalty stacking issues directly because it explicitly can take into
account multiple patent owners making claims on different synergies being generated by
different combinations of technologies within the same product.


    B. BargainingBetween a Manufacturer and More Than One Patent Owner Having a
    Fundamental Technology

        If a manufacturer is negotiating with multiple patent holders, the economic
analysis of licensing negotiations is considerably more complex than the situation in
which a single manufacturer is negotiating with a single patent holder. Apportionment is
ill-equipped to deal with such complexities. While apportionment attempts to divide up
the various sources of profits between the contributing assets under the assumption that
the whole is equal to the sum of the parts, determining the economic value of a patented
technology requires recognizing and accounting for the synergies between technologies.
        We first consider a manufacturer negotiating with multiple patent owners where
each of the patent owners holds a fundamental technology. 39 With multiple patent
owners, the manufacturer may negotiate simultaneously with each patent holder or
sequentially with each patent holder in turn. The equilibrium of a simultaneous


CEO, Micron Technology, Inc.), available at http://frwebgate.access.gpo.gov/cgi-
bin/getdoc.cgi?dbname=111_senate hearings&docid=f:54059.pdf.

   See also, Mark A. Lemley & Carl Shapiro, Patent Hold-up and Royalty Stacking, 85 Tex. L.
Rev. 1991, 2008-2020 (2007) (explaining that because of the threat of an injunction, negotiated
royalty rates can exceed the true economic contribution of the patented technology, especially
when the value of the patented technology is small relative to the product's total value).

    37   This outcome can result from the negative externalities that exist between owvners of
complementary patents, whereby each patent owner does not take into account the effects on the
others of increasing its royalty. Patent pools are one remedy to this situation in that they
internalize the externalities by putting royalty setting under the control of a single entity.

     38Love,   supra note 6, at 280-81.

   39   Whether it is appropriate to apply the framework described below to a particular real
world situation will depend on the specific facts of the case.


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bargaining situation in which one manufacturer and N patent owners are dividing up the
profits of a product where they all hold a blocking position is, generally, an equal split of
the profits among the parties. 40 For example, in the case of three players-one
manufacturer and two patent holders-the equilibrium is that each player receives one-
third of the profits.
         At first glance, it may seem that the sequential bargaining game, where the
manufacturer negotiates with one patent owner and then another in turn, should lead to a
different outcome because the portion of the profits that any one patented technology
receives would seem to depend on the order in which the manufacturer values them. To
illustrate, suppose a manufacturer wants to produce product AB, which incorporates
patented technology A and patented technology B. Suppose both patented technology A
and patented technology B are blocking in the sense that product AB cannot exist without
both technologies. Consider the situation in which the manufacturer first values patent A
and then, second, values patent B. The value of patent A, conditional on not having
patent B, is zero because by itself patent A does not allow for production of product AB.
The value of having patent B, conditional on already having patent A, is the entire value
of product AB. Now consider the situation in which the manufacturer reverses the order:
first valuing patent B and then, second, valuing patent A. By reversing the roles, now
patent B is valued at zero while patent A is valued at the entire value of Product AB.
This apparent paradox is once again the result of synergies being created when the two
patented technologies are combined.
         An analysis of a sequential bargaining model again suggests how markets would
resolve the apparent paradox. Suppose the manufacturer is negotiating with two patent
holders, patent holder A and patent holder B, over licenses in order to produce Product
AB. The outcome of a sequential move negotiation will generally be the same as the
simultaneous negotiation-an equal split of profits among the three parties-as long as
the players are equally and sufficiently patient.41
         This outcome can be explained using the following intuition. Suppose that the
manufacturer has previously agreed to a royalty payment of amount R to patent holder A
and is now engaged in negotiations with patent holder B. The total available profits to
split between the manufacturer and patent holder B is VABR- R. Because this is a bilateral
negotiation, the equilibrium of the negotiation game is that the two parties will agree on
an even split of the available profits (assuming equal and sufficient patience). In other


   40    While the outcome of the game depends on the bargaining procedure considered in the
model, for a range of possible bargaining models, the unique solution is an equal split of profits.
See, e.g., Suchan Chae & Jeong-Ae Yang, The Unique Perfect Equilibrium of an N-Person
BargainingGame, 28 Econ. Letters 221, 221-23 (1988); Suchan Chae & Jeong-Ae Yang, An N-
Person Pure BargainingGame, 62 J. Econ. Theory 86, 88-96 (1994); Vijay Krishna & Roberto
Serrano, MultilateralBargaining,63 Rev. Econ. Stud. 61, 68-76 (1996); and Sang-Chul Suh &
Quan Wen, Multi-Agent BilateralBargainingand the Nash BargainingSolution, 42 J.
Mathematical Econ. 61, 70-72 (2006).

   41   See, e.g., Chae & Yang The Unique, supra note 40, at 221-23; Chae & Yang An N-
Person, supra note 40, at 88-96; Krishna & Serrano, supra note 40, at 68-76; Suh & Wen, supra
note 40, at 70-72.


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words, patent holder B will get a royalty of         (VAB-   R) /2 and the manufacturer will get
profits of (VAB - R) / 2.
        Now move back in time and consider the earlier negotiation between the
manufacturer and patent owner A. The manufacturer will know what will happen in the
later negotiation with patent owner B. Specifically, for whatever royalty R it pays patent
owner A, the manufacturer knows that it will end up with (VAB- R) / 2. This means that
the "pie" to be divided between the manufacturer and patent owner A is R + (VAB- R) / 2.
Assuming equal and sufficient patience, the negotiated royalty R that splits this pie
evenly is VAB / 3. Thus, the three parties each receive an even one-third split of the value
of the product, the same as in the simultaneous bargain between the three parties.


    C. BargainingBetween a Manufacturer, One Patent Owner Having a Fundamental
    Technology, and One Patent Owner Having an Ancillary Technology

        We now compare the situation where a manufacturer is negotiating with two
patent holders, one of which has a fundamental technology that is necessary to produce a
product and the other of which is an ancillary feature that can be incorporated into the
product. 42 The manufacturer has two choices. It can produce product A that only
incorporates the fundamental technology, or it can produce product AB that incorporates
both the fundamental and ancillary technology. Neither product A nor product AB would
exist without the fundamental technology. Moreover, assume that neither product would
exist without the participation of the manufacturer.
        While it may be tempting to use an apportionment rule to argue that the value of
the fundamental technology is VA , the value of product A, while the value of the ancillary
technology is VAB - VA, the difference between the value of product AB and the value of
product A, this is incorrect as a matter of economics for two reasons. First, it fails to
consider that the manufacturer is blocking for product A. In this example, neither the
value of product A nor the value of product AB can be realized without the manufacturer.
Second, it fails to consider that the incremental value generated by Product AB over
Product A could not be obtained without first having the fundamental technology. Thus,
both the manufacturer and the fundamental technology owner can lay claim both to the
value of Product A and to the incremental value of Product AB over Product A. The
ancillary technology owner, however, can lay claim only to the incremental value.
Apportionment rules would fail to reflect the complexities of this situation, potentially
understating the value of the fundamental patent as VA and overstating the value of the
ancillary technology as VAR VA.*
        The economic approach, in contrast, is based on analyzing the likely outcome of a
market-based negotiation among the parties. Assuming equal and sufficient patience, the
manufacturer and fundamental technology owner would equally split among themselves


   42   See generally, Richard J. Gilbert, Antitrust for PatentPools. A Century of Policy
Evolution, 3 Stan. Tech. L. Rev. 1 (2004), (discussing two-way blocking (both parties own
patents with blocking positions) versus one-way blocking (a prior technology blocks the
implementation of an improvement patent, but not vice-versa) in the context of patent pools).

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the value of product A and would equally split the added benefit of the product AB over
product A with the ancillary patent holder. In this situation, the manufacturer and the
                                                                      1     1
fundamental technology owner would each receive a value equal to I VA + - (VAB - VA)
                                                                     2      3
while the ancillary technology owner would receive its split of the incremental value of
                             1
product AB over product A, -(VAB - VA).
                             3


    D. Incomplete Information Regarding PatentInfringement

        We discussed above the intuition for how a sequential negotiation between a
manufacturer and multiple fundamental patent owners could lead to the same outcome as
a simultaneous negotiation among the parties. The sequential outcome, however, is
predicated on the manufacturer being aware of the existence of the second fundamental
patent owner B and accounting for the future royalties it would pay for patent B in its
negotiation with patent owner A. 43
        We now consider the outcome if the manufacturer has less than complete
information about the patents that might be asserted against its product. Consider the
case in which the manufacturer negotiates with patent owner A, before it knows of the
existence of patent owner B. As with the previous example, assume both patents are
fundamental technologies.        Companies that produce complex technologies may
reasonably expect that there is some probability that they will face claims of infringement
in the future from currently unknown patent owners. The possibility of additional royalty
payments in the future is a factor that a manufacturer would take into account when
negotiating with patent owner A, and would reduce the maximum royalty that the
manufacturer would be willing to pay patent owner A.
        Consider, however, the situation in which the manufacturer is completely
"surprised" by patent owner B's assertion of a patent infringing claim. This scenario
corresponds to a situation in which apportionment might suggest that the royalty base be
limited because the product incorporates many complex technologies and, therefore,
royalty stacking issues must limit the royalty that the manufacturer should pay patent
holder B. In other words, back when the manufacturer negotiated with patent owner A, it
was under the assumption that patent A was the only patent that could be asserted against
the manufacturer's product. In that negotiation, assuming both parties were equally and
sufficiently patient, the manufacturer and patent holder A would have split VAB equally.
When patent owner B unexpectedly sues for infringement, the manufacturer has only




   43   Even if the hypothetical negotiation took place before the negotiation with other patent
owners, any patents on which royalties are not currently being paid could, in theory, be taken into
account based on the sequential bargaining analysis of the previous section.


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VAR     to split with patent owner B.44 Thus, after the negotiation with patent owner B, the
  2
                                                VAR                                 VAR
manufacturer and patent owner B each get              while patent owner A gets
                                                4                              2
         The first thing to note is that the economic approach does, in fact, account for
ongoing royalties already being paid on the product, in that the manufacturer pays less to
patent owner B than if it was not already paying royalties to patent owner A. 45
Nevertheless, the manufacturer ends up paying too much in royalties relative to the
complete information case. Because it is surprised, the manufacturer ends up with only
one-quarter of profits, whereas if it had negotiated simultaneously or under complete
information, it would have received one-third of the profits. But it should also be noted
that the manufacturer does not overpay the second patent owner, since patent holder B
receives also receives less than in the complete information case (again, one-quarter
rather than one-third). Thus, the effect of royalty stacking in this example is not that the
later patent owner is overpaid, but that the manufacturer paid more to the earlier patent
owner than it would have in the absence of surprise.46 Apportionment aimed at limiting
plaintiffs' royalties (where the plaintiff is the later patent owner) does not address this
issue.
         Parties to license agreements have come up with ways to deal with the prospect of
paying royalties to unexpected patent holders. For example, agreements may incorporate
a royalty adjustment mechanism, whereby the royalty rate is reduced if the licensee later
has to pay royalties to other licensors. In the above example, the license with patent
holder A would include a provision that royalty payments to patent holder A would be
reduced from 50 percent to 33 percent if another patent holder with a fundamental
technology later asserts its patents against the manufacturer's product. This contingency
clause restores the efficient outcome of a simultaneous negotiation since total profits
would again be evenly split between the manufacturer and the blocking patent holders.
Such a provision fully mitigates the risk to the manufacturer in this example. 47 Put




  44   We assume that the manufacturer has no ability to go back and renegotiate with patent
owner A.

   45   We assume that the manufacturer is payng ongoig running royalties to patent owner A.
Royalty stacking issues can still arise in situations where the manufacturer negotiated lump sum
payments with previous patent holders as opposed to running royalties.
   46    This raises questions about the incentives created by damages awards. If earlier patent
holders receive a higher portion of the total profits, patent owners in general would have an
incentive to make their patents known early, helping to mitigate royalty stacking issues.
   47  When licenses are for ancillary technologies, the analysis becomes more complex.
Nevertheless, such contingency clauses can still be included to mitigate the risk of future
unknown patent holders.


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differently, patent holder A helps "pay" the royalties for the newly asserted patent by
reducing the royalties for patent A.48


                                       VI. CONCLUSION

         Proponents of apportionment have argued that excessive royalty damages awards
can be curtailed by limiting the royalty base upon which royalty damages are awarded.
Such apportionment rules, however, would be arbitrary and may under-compensate
valuable innovations, particularly when significant synergies exist among technologies.
An approach consistent with economic principles would largely eliminate damages in
excess of the true economic value of a patent and align damages awards with incentives
to innovate.
         Even under a proper economic approach, however, other factors may still lead to
what some might believe are "excessive" damages awards. Consider, for example, the
issue of the time at which a patent is valued under the U.S. law. Under this legal
framework, a hypothetical negotiation is assumed to take place between the patent holder
and the alleged infringer at the date of first infringement. In certain cases, the infringer
may have previously made large sunk cost investments that are specific to the patent at
issue, making a switch to a non-infringing alternative relatively more costly. Whether or
not the timing of the negotiation results in "excessive" royalty awards presents separate
economic and legal questions. Rather than dealing with these factors by attempting to
limit royalty awards through arbitrary rules such as apportionment, employing an
economic analysis based on the specific facts of the case will provide the greatest
flexibility in identifying the true economic value of a patent in infringement cases.




    48  In this case, before patent holder B shows up, the manufacturer and patent holder A
shared 50 percent of future profits. When B shows up, the cost of that license is paid equally by
the manufacturer and patent holder A, since the amount of future profits falls from 50 percent to
33 percent for both.

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